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                                                                            E-FILED
                                                    Friday, 26 June, 2015 09:28:30 AM
                                                         Clerk, U.S. District Court, ILCD

              UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS

RICHARD AGUADO,                         )
                                        )
                Plaintiff,              )
                                        )
v.                                      ) No.: 13-3378-SEM
                                        )
                                        )
DIRECTOR GODINEZ, et al.,               )
                                        )
                Defendants.             )

                               ORDER

SUE E. MYERSCOUGH, U.S. District Judge:

     This cause is before the Court on Plaintiff Richard Aguado’s

motions for a preliminary injunction. The Court conducted an

evidentiary hearing on Aguado’s motions, and after considering the

evidence and the Parties’ briefs, the Court denies Aguado’s motions

because Aguado failed to demonstrate a likelihood of success on the

merits of his claim and because the injunctions that he seeks are

contrary to public policy.

                                 I.
                               FACTS

     In his first motion for a preliminary injunction, Aguado asks

the Court to issue an injunction that would prohibit Defendants


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from placing him in cells and on galleries with mentally unstable

and aggressive inmates. Aguado also asks the Court to order the

Warden at the Western Illinois Correctional Center to personally

approve Aguado’s cell placements and cellmates, and he further

asks that a psychiatrist review and approve all of his cell

placements and cellmates. Aguado finally asks the Court for an

Order that, essentially, orders Defendants to comply with the

Illinois Administrative Code and to stop violating his constitutional

rights.

     Aguado claims that such an injunction is necessary in order to

ensure that he is not attacked again by another inmate. Aguado

states that Defendants have demonstrated a lack of concern for his

safety since he filed this suit and that an injunction is the only

means by which his safety can be assured.

     On June 4, 2015, Aguado wrote a letter to the Court seeking

the Court’s assistance.     Therein, Aguado claimed that he had

recently been relocated from an upper gallery to a lower gallery.

Aguado further claimed that his new cellmate had threatened his

life. Aguado states that his new cellmate is mentally unstable and



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highly aggressive, and Aguado fears he may soon be the victim of a

physical attack or worse if the Court does not intervene.

     The Court considered Aguado’s letter as constituting a second

motion for a preliminary injunction.         The Court set a hearing on

Aguado’s two motions and heard evidence from Aguado and

Defendants regarding Aguado’s requests.            Further facts will be

included infra as necessary.

                               III.
                         APPLICABLE LAW

     The law governing a request for a temporary restraining order

or a preliminary injunction is well-established. Aguado seeks a

mandatory preliminary injunction, and mandatory injunctions are

very rarely issued except on the clearest equitable grounds. W.A.

Mack v. General Motors Corp., 260 F.2d 886, 890 (7th Cir. 1958).

     The standards for entering a temporary restraining order are

identical to those for entering a preliminary injunction. Anthony v.

Village of South Holland, 2013 WL 5967505, * 2 (N.D. Ill. Nov. 8,

2013). “To obtain a preliminary injunction, the moving party must

show that its case has ‘some likelihood of success on the merits’

and that it has ‘no adequate remedy at law and will suffer


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irreparable harm if a preliminary injunction is denied.’” Stuller, Inc.

v. Steak N Shake Enter., Inc., 695 F.3d 676, 678 (7th Cir. 2012)

(quoting Ezell v. City of Chicago, 651 F.3d 684, 694 (7th Cir. 2011).

     If the moving party meets these threshold requirements, the

district court “must consider the irreparable harm that the

nonmoving party will suffer if preliminary relief is granted,

balancing such harm against the irreparable harm the moving party

will suffer if relief is denied.” Ty, Inc. v. Jones Group, Inc., 237 F.3d

891, 895 (7th Cir. 2001). The district court must also consider the

public’s interest in an injunction. Id.

     In this balancing of harms, the district court must weigh these

factors against one another “in a sliding scale analysis.” Christian

Legal Soc’y v. Walker, 453 F.3d 853, 859 (7th Cir. 2006). “The

sliding scale approach is not mathematical in nature, rather ‘it is

more properly characterized as subjective and intuitive, one which

permits district courts to weigh the competing considerations and

mold appropriate relief.’” Ty, Inc., 237 F.3d at 895-96 (quoting

Abbot Labs. v. Mead Johnson & Co., 971 F.2d 6, 12 (7th Cir. 1992)).

     A preliminary injunction is “an extraordinary and drastic

remedy, one that should not be granted unless the movant, by a

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clear showing, carries the burden of persuasion.” Mazurek v.

Armstrong, 520 U.S. 968, 972 (1997). The movant must carry his

burden of persuasion on each of the elements necessary to enter

injunctive relief in order to obtain injunctive relief. Rust Envt. &

Infrastructure, Inc. v. Teunissen, 131 F.3d 1210, 1219 (7th Cir. 1997)

(holding that a party seeking a preliminary injunction must satisfy

each element).

                           IV.
         AGUADO IS NOT ENTITLED TO AN INJUNCTION

A.   The injunction sought by Aguado is contrary to public
     policy.

     Entering an injunction upon the terms and conditions sought

by Aguado in his first motion would be contrary to public policy.

Aguado essentially asks the Court to become involved in the day-to-

day operations of the prison regarding cell placements and inmate

movements. Such involvement in the day-to-day operations of a

prison is something that courts should be hesitant to do. Johnson v.

California, 543 U.S. 499, 529 (2005)(“Well before Turner, this Court

recognized that experienced prison administrators, and not judges,

are in the best position to supervise the daily operations of prisons



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across this country.”); Lewis v. Casey, 518 U.S. 343, 361(1996)

(same).

     Aguado testified that he is no longer being housed in the same

cell or gallery as he was when he filed his first motion for a

preliminary injunction. Moreover, no evidence exists that the

injunctive relief that Aguado wants the Court to impose upon the

prison officials would have the desired result. Any such belief by

Aguado that it would is speculative. Aguado has failed to

demonstrate the clearest equitable grounds for an injunction or that

he will suffer any irreparable harm if the Court does not issue the

injunction that he seeks. Accordingly, Aguado’s first motion for a

preliminary injunction is denied.

B.   Aguado has failed to show a likelihood of success on the
     merits.

     Likewise, Aguado’s second motion for a preliminary injunction

is denied. According to Aguado’s own testimony, his cellmate

threatened his life on June 4, 2015, but Aguado did not inform any

prison official about the threat until June 15, 2015. Unless prison

officials have actual knowledge of an impending threat against

Aguado, they cannot be held liable for failing to protect him. Butera


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v. Cottey, 285 F.3d 601, 605 (7th Cir. 2002); Smith v. Sangamon

County Sheriff’s Dept., 715 F.3d 188, 191 (7th Cir. 2013)(quoting

Franke v. City of Chicago, 210 F.3d 779, 782 (7th Cir. 2000)).

Without showing actual knowledge on Defendants’ part, Aguado

has failed to show a likelihood of success on the merits.

     Furthermore, Aguado’s request for an injunction in his second

motion is contrary to public policy. Lt. Megginson testified during

the hearing that an inmate can refuse housing and be transferred

to segregation where he will receive a new cell assignment. Lt.

Megginson further testified that he made this option available to

Aguado, but Aguado refused.

     The Court understands that Aguado may not have wanted or

desired this option, but it was an option nonetheless. Allowing

Aguado to by-pass the prison’s internal policies and procedures

would place the Court in the position of intervening in the day-to-

day operations of the prison and would allow Aguado—and,

potentially, other inmates—to dictate the conditions and terms of

his confinement. Such an outcome is contrary to public policy, and

the Court denies Aguado’s second motion for a preliminary

injunction.

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IT IS, THEREFORE, ORDERED:

    1.    Plaintiff’s motion for preliminary injunction [33] is

DENIED.

    2.    Plaintiff’s letter to the Court that the Court

considered to be a second motion for a preliminary injunction

[55] is also DENIED.

    3.    The Clerk of the Court is directed to correct

Defendant “Mary Lamaster” to be “Marty Lamaster” and to

attempt service on Defendant “Marty Lamaster” pursuant to

the Court’s standard procedures.



ENTERED this 26th day of June, 2015



                                  s/ Sue E. Myerscough
                                  SUE E. MYERSCOUGH
                              UNITED STATES DISTRICT JUDGE




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